                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION
                              Case No. 7:14-CV-00157-FL

CTB, INC.,                                   )
                                             )
                 Plaintiff,                  )
                                             )
        v.                                   )
                                             )
HOG SLAT, INC.,                              )
                                             )
                 Defendant.                  )
                                             )

                   PLAINTIFF’S NOTICE OF SUBSEQUENTLY DECIDED
                             CONTROLLING AUTHORITY

        Pursuant to Local Rule 7.1(h), Plaintiff CTB, Inc. (“CTB”), submits this Notice of

Subsequently Decided Authority related to CTB’s pending Motion for Summary Judgment (D.E.

115) and in opposition to Defendant Hog Slat’s pending Motion for Summary Judgment (D.E.

118):

        See Moldex-Metric, Inc. v. McKeon Products, Inc., -- F.3d --, 2018 WL 2672406 (9th Cir.

June 5, 2018) (reversing summary judgment because defendant’s asserted functionality defense

for claimed trademarked color was a question of fact and plaintiff entitled to present use of

alternative colors at trial as evidence of non-functionality), a copy of which is attached hereto as

Exhibit A.

Dated: June 11, 2018
                                              Respectfully submitted,

                                              CLARK HILL PLC

                                              /s/ Christopher B. Clare___________
                                              David J. Marr (Ill. Bar No. 6194750)
                                              Eric Dorkin (Ill. Bar No. 6256930)
                                              130 East Randolph St., Suite 3900
                                              Chicago, Illinois 60601
                                              tel (312) 985-5900
                                              fax (312) 985-5999

215872850.1 35002/170899
                           dmarr@clarkhill.com
                           edorkin@clarkhill.com

                           Christopher B. Clare (N.C. Bar No. 39582)
                           1001 Pennsylvania Avenue NW
                           Suite 1300 South
                           Washington, DC 20004
                           tel (202) 572-8671
                           fax (202) 772-0919
                           cclare@clarkhill.com
                           Local Civil Rule 83.1 Counsel

                           Attorneys for Plaintiff, CTB, Inc.




                              2
215872850.1 35002/170899
EXHIBIT A
Moldex-Metric, Inc. v. McKeon Products, Inc., --- F.3d ---- (2018)




                                                                     District Judge, sitting by designation, held
           2018 WL 2672406                                           that genuine issue of material fact existed as
  Only the Westlaw citation is currently                             to whether bright green color of
                available.                                           manufacturer’s ear plugs was functional.
  United States Court of Appeals, Ninth
                 Circuit.
                                                                     Reversed and remanded.
 MOLDEX-METRIC, INC., a California
   corporation, Plaintiff-Appellant,
                  v.
    MCKEON PRODUCTS, INC., a
       Michigan Corporation,                                          West Headnotes (14)
        Defendant-Appellee.

               No. 16-55548                                          [1]
                                                                           Trademarks
                     |                                                      Functionality
    Argued and Submitted December 5,
       2017—Pasadena, California                                           The factors for assessing the
                     |                                                     functionality of product features for
            Filed June 5, 2018                                             purposes      of     a     trademark
                                                                           infringement claim are: (1) whether
                                                                           the design yields a utilitarian
Synopsis                                                                   advantage; (2) whether alternative
Background: Manufacturer of foam ear                                       designs are available; (3) whether
plugs with specific bright green color                                     advertising touts the utilitarian
brought action against competitor, alleging                                advantages of the design; and (4)
that competitor infringed its trademark by                                 whether the particular design results
using similar green color for ear plugs. After                             from a comparatively simple or
summary judgment was granted to                                            inexpensive method of manufacture.
competitor, 2013 WL 12123686, but was
vacated and remanded on appeal, 596                                        Cases that cite this headnote
Fed.Appx. 567, the United States District
Court for the Central District of California,
D.C.     No.     2:11-cv-01742-GHK-AGR,
George H. King, J., 2016 WL 6272452,
granted competitor’s motion for summary                              [2]
                                                                           Trademarks
judgment. Manufacturer appealed.                                            Functionality

                                                                           No single factor for assessing the
                                                                           functionality of product features for
[Holding:] The Court of Appeals, Piersol,
                                                                           purposes      of     a     trademark
               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                               1
Moldex-Metric, Inc. v. McKeon Products, Inc., --- F.3d ---- (2018)



        infringement claim is dispositive and
        all should be weighed collectively.                                Viewing the evidence in the light
                                                                           most favorable to nonmoving party
                                                                           and     drawing      all    reasonable
        Cases that cite this headnote                                      inferences in its favor on review of a
                                                                           grant of summary judgment, the
                                                                           Court of Appeals must determine
                                                                           whether the district court correctly
[3]                                                                        applied the relevant substantive law
        Federal Courts                                                     and whether there are any genuine
         Summary judgment                                                  issues of material fact.
        The Court of Appeals reviews de
        novo a district court’s grant of                                   Cases that cite this headnote
        summary judgment on a trademark
        infringement claim based on a
        finding of functionality.
                                                                     [6]
                                                                           Trademarks
        Cases that cite this headnote                                       Unfair competition

                                                                           The Lanham Act makes actionable
                                                                           the deceptive and misleading use of
[4]                                                                        trademarks to protect persons
        Federal Civil Procedure                                            engaged in commerce against unfair
         Presumptions                                                      competition. Lanham Trade-Mark
                                                                           Act § 45, 15 U.S.C.A. § 1127.
        In ruling on a motion for summary
        judgment, the evidence of the
        nonmovant is to be believed, and all                               Cases that cite this headnote
        justifiable inferences are to be drawn
        in his favor.


        Cases that cite this headnote                                [7]
                                                                           Trademarks
                                                                             Form, Features, or Design of
                                                                           Product as Marks; Trade Dress

[5]                                                                        The Lanham Act’s protection
        Federal Courts                                                     extends not only to word marks, but
         Summary judgment                                                  also to the design of a product as a
        Federal Courts                                                     form of trade dress. Lanham
         Summary judgment                                                  Trade-Mark Act § 45, 15 U.S.C.A. §
               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                              2
Moldex-Metric, Inc. v. McKeon Products, Inc., --- F.3d ---- (2018)



        1127.                                                               Act § 43, 15 U.S.C.A. § 1125(a)(3).


        Cases that cite this headnote                                       Cases that cite this headnote




[8]                                                                  [11]
        Trademarks                                                          Trademarks
          Form, Features, or Design of                                       Functionality
        Product as Marks; Trade Dress
                                                                            The nonfunctionality requirement of
        “Trade dress” is the total image of a                               trade dress protection under the
        product, including features such as                                 Lanham Act is based on the judicial
        size, shape, color, texture, and                                    theory    that   there    exists    a
        graphics.                                                           fundamental right to compete
                                                                            through imitation of a competitor’s
                                                                            product, which right can only be
        Cases that cite this headnote                                       temporarily denied by the patent or
                                                                            copyright laws. Lanham Trade-Mark
                                                                            Act § 43, 15 U.S.C.A. § 1125(a)(3).

[9]
        Trademarks                                                          Cases that cite this headnote
         Necessity of registration

        Unregistered trade dress may be
        protected under the Lanham Act.
                                                                     [12]
        Lanham Trade-Mark Act § 45, 15                                      Trademarks
        U.S.C.A. § 1127.                                                     Functionality

                                                                            The functionality doctrine for trade
        Cases that cite this headnote                                       dress is meant to promote free
                                                                            competition by ensuring that patent
                                                                            law remains the only legal source of
                                                                            exclusive rights in utilitarian
[10]                                                                        features. Lanham Trade-Mark Act §
        Trademarks                                                          43, 15 U.S.C.A. § 1125(a)(3).
         Functionality

        No protection under the Lanham Act                                  Cases that cite this headnote
        is available if the claimed trade dress
        is functional. Lanham Trade-Mark
               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                3
Moldex-Metric, Inc. v. McKeon Products, Inc., --- F.3d ---- (2018)



                                                                     Sanford I. Weisburst (argued), Quinn
                                                                     Emanuel Urquhart & Sullivan LLP, New
[13]
        Federal Civil Procedure                                      York, New York; Joseph M. Paunovich and
          Copyright, trademark, and unfair                           Harold A. Barza, Quinn Emanuel Urquhart
        competition cases                                            & Sullivan LLP, Los Angeles, California;
                                                                     for Plaintiff-Appellant.
        Genuine issue of material fact
        existed as to whether bright green                           Steven M. Weinberg (argued) and Michael
        color of manufacturer’s ear plugs                            J. Salvatore, Holmes Weinberg PC, Malibu,
        was functional, precluding summary                           California; Robert L. Meylan, Meylan
        judgment on manufacturer’s trade                             Davitt Jain Arevian & Kim LLP, Los
        dress infringement claim against                             Angeles,              California;     for
        competitor under Lanham Act.                                 Defendant-Appellee.
        Lanham Trade-Mark Act § 43, 15                               Before: Kim McLane Wardlaw and Ronald
        U.S.C.A. § 1125(a)(3).                                       M. Gould, Circuit Judges, and Lawrence L.
                                                                     Piersol,* District Judge.
                                                                     *    The Honorable Lawrence L. Piersol, United States
        Cases that cite this headnote                                     District Judge for the District of South Dakota, sitting
                                                                          by designation.




[14]
        Federal Courts
         Subsequent Appeals
                                                                                          OPINION
        The Court of Appeals reviews de
        novo a district court’s compliance
        with an appellate mandate.                                   Opinion by Judge Piersol

                                                                     Moldex-Metric, Inc. filed suit against
        Cases that cite this headnote                                McKeon Products, Inc. for trademark
                                                                     infringement. The district court granted
                                                                     summary judgment in favor of McKeon, and
                                                                     Moldex appeals. We reverse and remand.

Appeal from the United States District Court
for the Central District of California, George
H. King, District Judge, Presiding, D.C. No.                                                     I
2:11-cv-01742-GHK-AGR
                                                                     Since 1982, Moldex has been producing
Attorneys and Law Firms                                              foam ear plugs with a specific bright green
                                                                     color. The color in question has also been
               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                             4
Moldex-Metric, Inc. v. McKeon Products, Inc., --- F.3d ---- (2018)



described as fluorescent green-yellow or                                           utilitarian advantage; 2) whether alternative designs are
fluorescent lime. From 1982 through 2011,                                          available; 3) whether advertising touts the utilitarian
                                                                                   advantages of the design; and 4) whether the particular
Moldex sold more than 1.6 billion pairs and                                        design results from a comparatively simple or
$191,917,123.77 worth of the green ear                                             inexpensive method of manufacture. Disc Golf, 158
                                                                                   F.3d at 1006. No single factor is dispositive and all
plugs. Moldex has never acquired a federal                                         should be weighed collectively. Id.
registration of its green color, but it has sued
to enforce the mark against other companies
selling ear plugs bearing the green color.                             *2 On remand, the district court determined
After McKeon began using a similar green                               that the visibility of Moldex’s bright green
color for its ear plugs, Moldex initiated this                         color is essential to the use or purpose of the
lawsuit in 2011.                                                       ear plugs—to increase visibility and
                                                                       facilitate safety compliance checks—and
[1]   [2]
      The parties filed cross motions for                              therefore the green color mark is functional
summary judgment. McKeon claimed,                                      under the tests set forth by the Supreme
among other things, that the green color                               Court in Qualitex and TrafFix Devices, Inc.
mark is functional. The district court granted                         v. Marketing Displays, Inc., 532 U.S. 23,
McKeon’s motion after finding that the                                 121 S.Ct. 1255, 149 L.Ed.2d 164 (2001).
mark is functional, and thus not protectable                           The district court again granted summary
as trade dress.1 On March 6, 2015, we                                  judgment in favor of McKeon on
vacated and reversed the district court’s                              functionality grounds. Moldex appeals.
grant of summary judgment. Expressing
doubt that summary judgment on
functionality grounds was appropriate, we
remanded for the district court to assess
functionality in the first instance in light of                                                           II
Qualitex Co. v. Jacobson Products, Co., 514                            [3]   [4]    [5]
U.S. 159, 115 S.Ct. 1300, 131 L.Ed.2d 248                                        We review de novo the district
(1995). The dissenting opinion argued that                             court’s grant of summary judgment based on
the Qualitex standard was both incorporated                            its finding of functionality. Clicks Billiards,
in the functionality factors set forth in Disc                         Inc. v. Sixshooters, Inc., 251 F.3d 1252,
Golf Ass’n, Inc. v. Champion Discs, Inc.,                              1257 (9th Cir. 2001). Summary judgment is
158 F.3d 1002 (9th Cir. 1998),2 and was                                appropriate when “there is no genuine
addressed by the district court.                                       dispute as to any material fact and the
                                                                       movant is entitled to judgment as a matter of
1           The district court granted summary judgment solely on      law.” FED.R.CIV.P. 56(a). In ruling on a
            the ground that Moldex’s claimed trademark is              motion for summary judgment, “[t]he
            functional. It did not reach McKeon’s additional
            arguments for summary judgment based on lack of
                                                                       evidence of the nonmovant is to be believed,
            secondary meaning and no likelihood of confusion.          and all justifiable inferences are to be drawn
                                                                       in his favor.” Anderson v. Liberty Lobby,
                                                                       Inc., 477 U.S. 242, 255, 106 S.Ct. 2505, 91
2           The Disc Golf factors for assessing the functionality of   L.Ed.2d 202 (1986). Viewing the evidence
            product features are: 1) whether the design yields a       in the light most favorable to Moldex and
                     © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                                 5
Moldex-Metric, Inc. v. McKeon Products, Inc., --- F.3d ---- (2018)



drawing all reasonable inferences in its                             1125(a)(3); see also Wal-Mart, 529 U.S. at
favor, “we must determine whether the                                214, 120 S.Ct. 1339 (“It is true, of course,
district court correctly applied the relevant                        that the person seeking to exclude new
substantive law and whether there are any                            entrants would have to establish the
genuine issues of material fact.” Clicks                             nonfunctionality of the design feature ....”).
Billiards, 251 F.3d at 1257.                                         The nonfunctionality requirement of trade
                                                                     dress protection “is based on the judicial
                                                                     theory that there exists a fundamental right
                                                                     to compete through imitation of a
                                                                     competitor’s product, which right can only
                           III                                       be temporarily denied by the patent or
[6] [7] [8] [9]                                                      copyright laws.” Tie Tech, Inc. v. Kinedyne
          The Lanham Act makes actionable                            Corp., 296 F.3d 778, 785 (9th Cir. 2002)
the deceptive and misleading use of                                  (internal quotation marks and emphasis
trademarks to protect persons engaged in                             omitted). The functionality doctrine is meant
commerce against unfair competition. Two                             to promote free competition by ensuring that
Pesos, Inc. v. Taco Cabana, Inc., 505 U.S.                           patent law remains the only legal source of
763, 767–68, 112 S.Ct. 2753, 120 L.Ed.2d                             exclusive rights in utilitarian features. See
615 (1992); 15 U.S.C. § 1127. This                                   Qualitex, 514 U.S. at 164, 115 S.Ct. 1300. If
protection extends not only to word marks,                           a product’s functional features could be
but also to the design of a product as a form                        trademarked, the holder could obtain a
of trade dress. See Wal-Mart Stores, Inc. v.                         monopoly “over such features ... without
Samara Bros., Inc., 529 U.S. 205, 209, 120                           regard to whether they qualify as patents and
S.Ct. 1339, 146 L.Ed.2d 182 (2000) (Section                          could be extended forever (because
43(a) of the Lanham Act “embrace[s] not                              trademarks may be renewed in perpetuity).”
just word marks ... but also ‘trade dress’ ...                       Id. at 164–65, 115 S.Ct. 1300 (citations
[which] encompass[es] the design of a                                omitted).
product.”). Trade dress is the “total image of
a product,” including features such as size,                         *3 The trademark statutes do not define
shape, color, texture, and graphics. Disc                            functionality.     The     Supreme       Court’s
Golf, 158 F.3d at 1005 n.3. Unregistered                             traditional test of functionality, articulated in
trade dress such as Moldex’s green color                             Inwood Labs, is that “a product feature is
may be protected under the Lanham Act. See                           functional if it is essential to the use or
Wal-Mart, 529 U.S. at 210, 120 S.Ct. 1339.                           purpose of the article or if it affects the cost
[10] [11] [12]                                                       or quality of the article.” Inwood
          No protection under the Lanham                             Laboratories, Inc. v. Ives Laboratories, Inc.,
Act is available if the claimed trade dress is                       456 U.S. 844, 850 n.10, 102 S.Ct. 2182, 72
functional. TrafFix, 532 U.S. at 29, 121                             L.Ed.2d 606 (1982). We have observed that
S.Ct. 1255. For unregistered trade dress, the                        “[f]unctional features of a product are
person who asserts protection “has the                               features which constitute the actual benefit
burden of proving that the matter sought to                          that the consumer wishes to purchase, as
be protected is not functional.” 15 U.S.C. §                         distinguished from an assurance that a
                  © 2018 Thomson Reuters. No claim to original U.S. Government Works.                              6
Moldex-Metric, Inc. v. McKeon Products, Inc., --- F.3d ---- (2018)



particular entity made, sponsored, or                                but also “provide[d] a unique and useful
endorsed a product.” Disc Golf, 158 F.3d at                          mechanism to resist the force of the wind.”
1006 (citation omitted).                                             Id. at 33, 121 S.Ct. 1255. Simply put, the
                                                                     design was “the reason the device
In 1995, the Supreme Court held that color                           work[ed].” Id. at 34, 121 S.Ct. 1255. “The
may be the subject of trademark protection                           dual-spring design serves the important
because “sometimes color is not essential to                         purpose of keeping the sign upright even in
a product’s use or purpose and does not                              heavy wind conditions; and as confirmed by
affect cost or quality ....” Qualitex, 514 U.S.                      the statements in the expired patents, it does
at 165, 115 S.Ct. 1300. The Court expanded                           so in a unique and useful manner. ... The
on the traditional rule of Inwood and added                          dual-spring design affects the cost of the
that a functional feature is one the                                 device as well; it was acknowledged that the
“exclusive use of [which] would put                                  device ‘could use three springs but this
competitors         at       a       significant                     would unnecessarily increase the cost of the
non-reputation-related disadvantage.” 514                            device.’ ” Id. at 31–32, 121 S.Ct. 1255.
U.S. at 165, 115 S.Ct. 1300. In Qualitex, any
color at all in general had functionality as                         The TrafFix Court ruled that the Sixth
there had to be some color on press pads to                          Circuit had erred by inquiring into the
avoid noticeable stains. However, no color                           competitive necessity of the dual-spring
in particular had functionality, including the                       design and speculating about other design
green-gold color. Accordingly, there was no                          possibilities where the device was otherwise
functionality for the particular green-gold                          functional under the Inwood formulation. Id.
color to defeat trademark protection. See id.                        at 32–33, 121 S.Ct. 1255. The TrafFix Court
                                                                     went on to state that, “It is proper to inquire
In 2001, the Supreme Court explained in                              into a ‘significant non-reputation-related
TrafFix that the Qualitex decision did not                           disadvantage’ in cases of esthetic
displace the traditional Inwood rule, and the                        functionality, the question involved in
Court reaffirmed that the Inwood                                     Qualitex.” Id. at 33, 121 S.Ct. 1255.
formulation is the main test to determine
functionality. See TrafFix, 532 U.S. at                              In the present case, the district court
32–33, 121 S.Ct. 1255. In TrafFix, the                               distinguished Qualitex by asserting the
Supreme Court held that the Sixth Circuit                            protectable green-gold color in that case was
“gave insufficient recognition to the                                not “essential” to the product because any
importance of the expired utility patents, and                       color would suffice to achieve the product’s
their evidentiary significance, in establishing                      function of hiding stains on dry-cleaning
the functionality of the device”—a                                   press pads, whereas the Moldex green color
dual-spring mechanism for keeping outdoor                            plays a significant role in achieving the
signs upright in heavy wind conditions. Id.                          function of allowing ear plugs to be seen
at 32, 121 S.Ct. 1255. The Supreme Court                             during safety compliance checks and
found that the dual-spring design not only                           therefore is “essential” to the use or purpose
served the purpose of informing consumers                            of the ear plugs. As we explain below,
that the stands were made by the plaintiff,                          however, whether or not the green color is
               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                7
Moldex-Metric, Inc. v. McKeon Products, Inc., --- F.3d ---- (2018)



essential is a question for the jury.                                  After Qualitex and TrafFix, the test for
                                                                       functionality proceeds in two steps. In the
*4 The district court also held that, by virtue                        first step, courts inquire whether the
of the green color, Moldex’s ear plugs work                            alleged     “significant      non-trademark
as they are supposed to. Therefore, the green                          function”      satisfies     the      Inwood
color is functional like the dual-spring                               Laboratories            definition          of
mechanism for keeping outdoor signs                                    functionality—“essential to the use or
upright in heavy wind conditions in TrafFix,                           purpose of the article [or] affects [its] cost
and there was no need to inquire into                                  or quality.” If this is the case, the inquiry
alternative colors that are equally visible.                           is over—the feature is functional and not
                                                                       protected. In the case of a claim of
                                                                       aesthetic functionality, an alternative test
                                                                       inquires whether protection of the feature
                                                                       as a trademark would impose a significant
                           A                                           non-reputation-related           competitive
                                                                       disadvantage.
Moldex contends on appeal that the district
court misinterpreted Qualitex and the                                Au-Tomotive Gold, 457 F.3d at 1072
Supreme Court’s guidance in TrafFix                                  (citations omitted). The district court and
regarding the test for functionality.                                McKeon highlight this language to support
Specifically, Moldex argues that the district                        the proposition that alternative designs are
court erred in interpreting TrafFix to hold                          irrelevant where the trade dress is functional
that the availability of alternative colors                          under the traditional Inwood definition.
need not be considered to determine whether                          Specifically, McKeon argues that the district
Moldex’s green color is functional if the                            court properly declined to consider the
color contributes in a significant way to the                        evidence of alternative colors that are
operation of the product. We agree.                                  available for ear plugs to perform the same
                                                                     function of visibility as Moldex’s bright
McKeon asserts that the district court                               green color because functionality was
correctly decided that the Qualitex                                  clearly established under Inwood by the fact
competitive necessity test and its related                           that the bright green color improves the
inquiry into alternative designs is irrelevant                       visibility of Moldex’s ear plugs.
in light of the Supreme Court’s decision in
TrafFix and our decision in Au-Tomotive                              Admittedly, there has been some question
Gold, Inc. v. Volkswagen of Am., Inc., 457                           whether consideration of alternative designs
F.3d 1062 (9th Cir. 2006). Addressing                                is required after TrafFix. See, e.g., Secalt
aesthetic functionality in Au-Tomotive Gold,                         S.A. v. Wuxi Shenxi Const. Mach. Co., 668
we stated:                                                           F.3d 677, 686–87 (9th Cir. 2012) (noting
                                                                     that the Ninth Circuit’s Disc Golf factors
   So where do we stand in the wake of forty                         “are somewhat more expansive than the
   years of trademark law scattered with                             Inwood formulation,” but neither accepting
   references to aesthetic functionality?                            nor rejecting the argument that alternative
               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                8
Moldex-Metric, Inc. v. McKeon Products, Inc., --- F.3d ---- (2018)



designs need not be considered in                                    itself embodies functional or merely
determining functionality of a hoist, “a                             ornamental aspects of the product”) (citing
classic example of ‘de jure’ functionality”),                        TrafFix, 532 U.S. at 34, 121 S.Ct. 1255).
abrogated on other grounds by SunEarth,                              Because we found strong evidence of
Inc. v. Sun Earth Solar Power Co., 839 F.3d                          functionality in advertising touting the
1179 (9th Cir. 2016). Notably the plaintiff in                       bottle’s     utilitarian feature,     in   the
Secalt provided no legitimate evidence of                            cost-effectiveness of the design, and in the
nonfunctionality, see 668 F.3d at 687, 688,                          utilitarian advantage of the bottle, see id. at
yet we considered the lack of alternative                            603–604, we did not find that the existence
designs and decided that the plaintiff failed                        of alternative designs was enough to
to meet its burden of demonstrating                                  diminish the “indicia of functionality.” Id. at
nonfunctionality. See id. at 686 (“[u]nder the                       605.
second Disc Golf factor, a lack of alternative
designs favors a finding of functionality”).                         In 2006, we addressed the aesthetic
                                                                     functionality doctrine in Au-Tomotive Gold.
*5 Post-TrafFix, we have continued to                                Au-Tomotive Gold “center[ed] on the
consider alternative designs in determining                          trademarks of two well-known automobile
functionality. First, in a case decided a few                        manufacturers—Volkswagen and Audi.”
months after TrafFix, we acknowledged “the                           457 F.3d at 1064. Au-Tomotive Gold (“Auto
difficulty     of      applying     traditional                      Gold”)         manufactured         automobile
functionality analysis in the restaurant                             accessories such as key chains and license
context” and stressed the importance of                              plate frames that bore “well-known
considering alternative designs in evaluating                        trademarks,       including      the     names
the functionality of a restaurant’s trade                            Volkswagen and Audi, the encircled VW
dress. Clicks Billiards, 251 F.3d at 1260–61.                        logo, the interlocking circles of the Audi
We concluded that Clicks “presented                                  logo, and the names of individual car
sufficient evidence of the arbitrariness and                         models.” Id. The trial court found the
non-functional nature of its restaurant design                       trademarks aesthetically functional and
decisions and the availability of alternative                        granted summary judgment in Auto Gold’s
designs to clear the summary judgment                                favor. On appeal, the “central question” was
hurdle.” Id. at 1261.                                                the scope of the doctrine of aesthetic
                                                                     functionality “and its application to the
Later, in a 2003 decision deciding the                               Volkswagen and Audi trademarks as they
functionality of a sports drink bottle                               appear on Auto Gold’s products.” Id. at
designed for bicycling, we said that                                 1067. Discussing the Inwood “utilitarian”
alternative designs cannot negate a                                  formulation that a feature is functional if it is
trademark’s functionality, but they can be                           “essential to the use or purpose of the article
used to determine functionality in the first                         [or] affects [its] cost or quality,” we noted
place. Talking Rain Beverage Co. v. S.                               that extending this functionality doctrine
Beach Beverage Co., 349 F.3d 601, 603 (9th                           which “aims to protect ‘useful’ product
Cir. 2003) (“the existence of alternative                            features, to encompass unique logos and
designs may indicate whether the trademark                           insignia is not an easy transition.” Id.
               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                 9
Moldex-Metric, Inc. v. McKeon Products, Inc., --- F.3d ---- (2018)



                                                                     (9th Cir. 2016), we held that the Court in
After reviewing our own cases dealing with                           TrafFix “did not discredit the Disc Golf
aesthetic functionality, and discussing the                          four-factor test,” and we noted that the Ninth
teachings of Inwood, Qualitex, and TrafFix,                          Circuit held already in Automotive Gold
we set forth a two-step functionality test. See                      “that the test still applies after TrafFix was
id. at 1072. Under step one, we found no                             decided.”
evidence in the record that the marks were
functional under the “utilitarian definition in                      The issue in Millennium was the
Inwood Laboratories as applied in the Ninth                          functionality of the graphical layout of
Circuit in Talking Rain.” Id. at 1072. Under                         reports on medical tests. Millennium created
step two, we examined “whether                                       an easy-to-read layout for presenting the
Volkswagen and Audi’s marks, as they                                 results of the tests and Ameritox came out
appear on Auto Gold’s products, perform                              with a similar design. Millennium sued
some function such that the exclusive use of                         Ameritox for trade dress infringement. The
[the marks] would put competitors at a                               district court granted Ameritox’s motion for
significant             non-reputation-related                       summary judgment after finding that the
disadvantage.” Id. at 1072–73 (internal                              trade dress of Millennium’s design was
quotations and citations omitted). Under that                        functional.
standard, we found that the Audi and
Volkswagen marks were nonfunctional.                                 On appeal, we noted that most cases
“[T]here is no evidence that consumers buy                           applying the Disc Golf factors “have focused
Auto Gold’s products solely because of their                         on physical devices.” Id. at 1128. Because
‘intrinsic’ aesthetic appeal. Instead, the                           the Disc Golf factors are not easily applied
alleged       aesthetic       function        is                     to aesthetic features, in aesthetic trade dress
indistinguishable from and tied to the mark’s                        cases we have “focused our analysis on the
source-identifying nature.” Id. at 1073–74.                          Qualitex language—whether the protection
                                                                     of the design would put competitors at a
*6 Although the existence of alternative                             disadvantage.” Id. Recognizing that “we
designs was not a consideration when we                              have clarified that this divergence between
assessed whether to protect the Volkswagen                           physical and aesthetic products is not
and Audi logos as trademarks, we again                               necessary,” this court applied Au-Tomotive
noted in Au-Tomotive Gold that, following                            Gold’s two-step test to gauge the
TrafFix, “the existence of alternative designs                       functionality of Millennium’s graphical
cannot negate a trademark’s functionality,”                          layout. Id. at 1128–29.
but “may indicate whether the trademark
itself embodies functional or merely                                 In step one this court assessed functionality
ornamental aspects of the product.” Id. at                           of Millennium’s layout under the four Disc
1071–72, 1072 n.8 (internal quotations and                           Golf factors together. See id. at 1130–31.
citations omitted).                                                  We found neutral the factor “whether the
                                                                     particular    design     results   from     a
More recently, in Millennium Laboratories,                           comparatively simple or inexpensive method
Inc. v. Ameritox, Ltd., 817 F.3d 1123, 1129                          of manufacture.” Id. at 1130. We determined
               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                              10
Moldex-Metric, Inc. v. McKeon Products, Inc., --- F.3d ---- (2018)



that questions of fact existed regarding both                        significant       non-reputation        related
whether the design has utilitarian advantage                         competitive disadvantage.” Id. at 1131
or whether it was aesthetic, and whether                             (quoting Au-Tomotive Gold, 457 F.3d at
Millennium “actually advertised the                                  1072). Noting that “aesthetic functionality
functionality of its report’s format.” Id.                           has been limited to product features that
Considering alternative designs such as a                            serve an aesthetic purpose wholly
“one graph over the other” configuration, or                         independent of any source identifying
using pie charts rather than the charts used,                        function,” we found that Millennium
we held this Disc Golf factor also weighed                           presented enough evidence to allow a jury to
against summary judgment for Ameritox. Id.                           assess the question of aesthetic functionality.
Considering all four Disc Golf factors                               See id. at 1131. The district court’s grant of
together, we highlighted the significance of                         summary judgment in favor of Ameritox
the existence of alternative designs for                             was reversed. Id.
Millennium’s layout:
                                                                     *7 Our case law shows that we continue to
             The key point is that even                              consider the existence or nonexistence of
             if a comparison of results                              alternative designs as probative evidence of
             is functional, this could be                            functionality or nonfunctionality. To gauge
             presented in many ways,                                 functionality of a feature after TrafFix, this
             and the precise format                                  Court has applied the traditional Inwood
             used by company asserting                               formulation in conjunction with our Disc
             trade     dress     is    not                           Golf factors, including whether alternative
             necessarily functional. A                               designs      are   available.    Our     cases
             reasonable jury could                                   acknowledge that the Inwood test does not
             conclude                 that                           always easily apply to some features, and
             Millennium’s trade dress                                this is true regarding Moldex’s green color.
             is not functional under                                 In Inwood and TrafFix, the Supreme Court
             Step     One       of     the                           did not explain what it takes for a feature to
             Au-Tomotive            Gold                             be “essential to the use or purpose of a
             two-step test.                                          product.” And whether a feature is “essential
                                                                     to the use or purpose of a product” is not
Id. at 1130–31. In other words, although                             always as apparent as it was in TrafFix,
Millennium’s graphical layout served the                             especially in cases such as this where the
function of presenting test results, it was not                      visibility of Moldex’s green color is not the
necessarily functional because there were                            “central advance” of a utility patent and
alternative designs for presenting the                               does not equate to the same “strong
information.                                                         evidence” of essentiality as the patents in
                                                                     TrafFix, 532 U.S. at 29–30, 121 S.Ct. 1255,
In step two of this court’s analysis in                              and where the green color does not affect the
Millennium, we addressed the test for                                cost of ear plugs as compared to the
aesthetic functionality—“whether protection                          dual-spring device in TrafFix that was less
of the feature as a trademark would impose a                         expensive than an alternative three-spring
               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                              11
Moldex-Metric, Inc. v. McKeon Products, Inc., --- F.3d ---- (2018)



device. Id. at 31–32, 121 S.Ct. 1255. Our                            colors should be considered in deciding
cases reflect that, with some features, the                          functionality of the mark in this case, and
availability of alternative designs becomes                          the district court gave insufficient
more important in assessing functionality.                           recognition to the importance of the
Millennium is a good example. There, even                            alternative colors and their evidentiary
though the graphical layout served the                               significance in evaluating the functionality
function of presenting test results in an                            of Moldex’s green color mark. Moldex
easy-to-read format, the existence of                                claims twelve Pantone colors it believes to
alternative designs for presenting the                               be confusingly similar to its green earplug
information was a factor in our decision that                        color. It is not clear from the record what
questions of fact existed whether the trade                          portion of the color spectrum between green
dress was functional.                                                and yellow this includes, or what portion of
                                                                     the set of colors that facilitate safety checks
In Qualitex, the Supreme Court proposed                              this includes. Moldex’s expert opines that
that where an aesthetic feature like color                           they are only claiming a small portion of the
serves a function, courts should examine                             similar colors, and points to numerous color
whether the exclusive use of that feature                            shades that are equally or more visible than
would interfere with competition in order to                         its bright green color. In contrast, McKeon’s
determine whether it is eligible for                                 expert points out that when a company
trademark protection. Qualitex, 514 U.S. at                          attempts to protect a color by specifying it as
166, 115 S.Ct. 1300 (“Although it is                                 a collection of Pantone swatches, it is
important to use some color on press pads to                         actually attempting to protect a large chunk
avoid noticeable stains, the court found no                          of color space that extends, in practice,
competitive need in the press pad industry                           because of a variety of factors, far beyond
for the green-gold color, since other colors                         the samples. As for safety checks, McKeon
are equally usable.”) (internal quotation and                        argues that yellow is unavailable and orange
citation omitted). Considering alternative                           performs poorly in low illumination, leaving
designs is particularly probative of                                 only the green/lime color space, much of
functionality in a color case like this one                          which Moldex is seeking to claim. It is
where the mark is more akin to the                                   argued that the set of colors left for good
green-gold hue in Qualitex than to the                               visibility and cospicuity would be depleted.
dual-spring stand in TrafFix. According to
Moldex’s color expert, there are hundreds of                         Moldex’s evidence that numerous color
other available colors that could accomplish                         shades are equally or more visible than its
the goal of making the ear plugs visible                             bright green color and would result in the
during safety compliance checks. Thus, an                            same function of visibility during
ear plug manufacturer prohibited from                                compliance checks weighs against a finding
selling Moldex’s green shade would still be                          of functionality, and a reasonable jury could
able to compete in the marketplace.                                  conclude that Moldex’s green color is not
                                                                     functional. McKeon’s evidence includes the
[13]
  Under Qualitex, TrafFix, and our court’s                           fact that the color is not to identify the
own precedent, evidence of alternative                               product but rather is necessary for the
               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                              12
Moldex-Metric, Inc. v. McKeon Products, Inc., --- F.3d ---- (2018)



earplugs to perform their function, that                             assess functionality in light of Qualitex.
being that they are especially visible so that                       Although we expressed doubt that summary
it can be confirmed that they are in use. This                       judgment should be granted on functionality,
visibility of these colors during a                                  we did not mandate a particular result or
compliance check indicates the functionality                         specifically require the district court to
of the colors and that the source of                                 inquire into other available colors. For these
alternatives is depleted by the claimed                              reasons, we reject the argument that the
colors. Because a reasonable jury could find                         district court violated the mandate. See id. at
at Au-Tomotive Gold Step One that the                                1094 (holding that mandate “leaves to the
evidence of alternative colors outweighs the                         district court any issue not expressly or
evidence of Moldex’s color providing some                            impliedly disposed of on appeal”) (citations
utilitarian advantage, and the fact Moldex                           omitted).
advertised its utility, and a reasonable jury
could then find at Step Two that trademark                           In sum, there remains a dispute of material
protection of the color would not impose a                           fact as to whether Moldex’s bright green
significant             non-reputation-related                       color is functional. Therefore, summary
competitive disadvantage, there remains a                            judgment was inappropriate.
dispute of material fact as to whether
Moldex’s bright green color is functional.                           For the foregoing reasons, we vacate the
Therefore,      summary       judgment      on                       district court’s March 31, 2016 order
functionality was inappropriate.                                     granting summary judgment to McKeon,
                                                                     and we remand to the district court for the
                                                                     district court to consider McKeon’s
                                                                     arguments both that Moldex’s green color
                                                                     lacks secondary meaning and that there is no
                           B                                         likelihood of confusion, and then if
                                                                     necessary go to trial.
*8 [14]Moldex also argues that the district
court failed to comply with this court’s                             REVERSED AND REMANDED.
mandate by refusing to consider evidence of
alternative colors that achieve the same goal
as Moldex’s green color. We review de novo
a district court’s compliance with our                               All Citations
mandate. See United States v. Kellington,
217 F.3d 1084, 1092 (9th Cir. 2000).                                 --- F.3d ----, 2018 WL 2672406

On remand, we directed the district court to
End of Document                                             © 2018 Thomson Reuters. No claim to original U.S. Government Works.




               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                         13
                              CERTIFICATE OF SERVICE

       I certify that, on June 11, 2018, I electronically filed the foregoing PLAINTIFF’S
NOTICE OF SUBSEQUENTLY DECIDED CONTROLLING AUTHORITY with the Clerk of
the Court using the CM/ECF system.

        The aforementioned document will be served on the following counsel of record for Hog
Slat, Incorporated in accordance with the Federal Rules of Civil Procedure and the Local Rules
of this Court:

                            Robert C. Van Arnam
                            Richard Matthews
                            Andrew Shores
                            WILLIAMS MULLEN
                            301 Fayetteville Street, Suite 1700
                            P.O. Box 1000 (27602)
                            Raleigh, NC 27601
                            rvanarnam@williamsmullen.com
                            rmatthews@williamsmullen.com
                            ashores@williamsmullen.com




Dated: June 11, 2018.

                                           CLARK HILL PLC

                                           s/ Christopher B. Clare
                                           Christopher B. Clare




215872850.1 35002/170899
